






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00115-CV






Fawn Bruce, Appellant



v.



Texas Department of Family and Protective Services, (1) Appellee







FROM THE DISTRICT COURT OF HAYS COUNTY, 207TH JUDICIAL DISTRICT


NO. 2002-0056, HONORABLE JACK H. ROBISON, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	Appellant Fawn Bruce brought this appeal from an order terminating her parental
rights.  Appellant had been found not entitled to a free record, but had asserted that she wanted to
continue the appeal and requested time to make payment arrangements.  Accordingly, this Court
abated the appeal until March 15, 2005.  See Bruce v. Texas Dep't of Protective &amp; Regulatory Servs.,
No. 03-04-00115-CV (Tex. App.--Austin Oct. 8, 2004, interlocutory op.).  There has been no
communication from appellant since the appeal was abated.  The children who are the subject of the
termination litigation have been placed in a foster home with foster parents who are waiting to adopt
them, but cannot proceed pending disposition of this appeal.  Appellee Texas Department of Family 
and Protective Services, joined by the children's attorney ad litem and guardian ad litem, now moves
to dismiss the appeal for want of prosecution.  Because appellant has not made arrangements to
secure a clerk's record or reporter's record, and has not communicated with this Court concerning
any reasons for her failure, we dismiss the case for want of prosecution.  See Tex. R. App. P. 37.3(b),
42.3(b).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop


Dismissed for Want of Prosecution


Filed:   October 4, 2005
1.        See Act of June 2, 2003, 78th Leg., R.S., ch. 198, art. 1, § 1.01(a), 2003 Tex. Gen. Laws 611,
611 (changing name from Texas Department of Protective and Regulatory Services).


